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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




                                        United States District Court
                                                                     for the

                                                                    District of


                                                                        Division



                                                                               Case No.
                                                                                          (to befiled in by the Clerk's Office)
                     merle. LaRSoO
                            Plaintiff(s)
(Write thefull name ofeach plaintiffwho isftling this complaint.
Ifthe names ofall the plaintiffs cannotJit in the space above,                 Jury Trial: (check one) I I Yes [9^0
please write "see attached" in the space and attach an additional
page with thefill list ofnames.)
                                  -V-




                           Defendant(s)
(Write the full name ofeach defendant who /.v being sued. Ifthe
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE


I.        The Parties to This Complaint
           A.        The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                                Name

                                Street Address                                                   Dr. fVpV              A-2.
                                City and County
                                                                                     )
                                                                                      .                CoJr\+^/1
                                State and Zip Code                  VA ^
                                Telephone Number                    -151 - "iSg- 05S3
                                E-mail Address                       r\t>oe


           B.        The Defen(lant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (ifknown). Attach additional pages if needed.

                                                                                                                                  Paee I of 5
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                     Defendant No. 1

                                Name                                                        ±£efi
                                Job or Title Ofknown)
                                Street Address            ^55" E«s4-             .s+.
                                City and County           N(!,v>i)ort.
                                State and Zip Code                       lOQiH
                                Telephone Number              Ai 3, - ~I35 -t^l ^1-
                                E-mail Address Ofknown)      S              .fosen (g p-Pii^r.coty^
                                                                    VTKti is "Vc* Cntvy         ^          Irv/
                     Defendant No. 2

                                Name                        N/jA-
                                Job or Title Ofknown)
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address Ofknown)


                     Defendant No. 3

                                Name

                                Job or Title Ofknown)
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address Ofknown)


                     Defendant No.4

                                Name
                                                            hJj/V
                                Job or Title Ofknown)
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address Ofknown)




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Pro Se I (Rev. 12/16) Complaint for a Civil Case


11.       Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is t)«e basis for federal court Jurisdiction? (check all that apply)
                [V] Federal question                               Q Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




                       \fto\fiiAtQA cT                                                    WTfOQ^C) 4^rmiV-Wian
          B.         If the Basis for Jurisdiction Is Diversity of Citizenship ^

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                 , is a citizen of the
                                           State of(name)


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                 , is incorporated
                                           under the laws of the State of(name)
                                           and has its principal place of business in the State of(name)



                               (If more than one plaintiffis named in the complaint, attach an additional page providing the
                               same informationfor each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual

                                           The defendant, (name)                                                 , is a citizen of
                                           the State of(name)                                              . Or is a citizen of
                                           (foreign nation)



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                                b.         If the defendant is a corporation
                                           The defendant, (name)                                       ,is incorporated under
                                           the laws of the State of(name)                                       ,and has its
                                           principal place of business in the State of(name)
                                           Or is incorporated under the laws of(foreign nation)
                                           and has its principal place of business in (name)


                                (Ifmore than one defendant is named in the complaint, attach an additionalpage providing the
                                same informationfor each additional defendant.)

                                The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain)-.




III.      Statement of Claim


          Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




IV.       Relief


          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.




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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my knowledge, information,
          and belief that this complaint:(1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation;(2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. 1 understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:                  ~ ZDI^

                     Signature of Plaintiff
                     Printed Name of Plaintiff                               fYtak       IWOH

          B.         For Attorneys


                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number

                     Name of Law Firm

                     Street Address

                     State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                      Page 5 of 5
